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 Jeff Nestler
 Assistant United States Attorney
 U.S. Attorney’s Office for the District of Columbia
 601 D Street NW Washington, D.C. 20530
                                                                        July 31, 2022

 Mr. Nestler:

         I reference my outstanding requests on January 25, 2022, January 26, 2022 (and
 Carmen Hernandez’ email of the same day), January 31, 2022, February 3, 2022, May 26,
 2022, May 27, 2022, and your most recent response on June 22, 2022. I renew my prior
 requests, including that you provide any and all information you have regarding
 Suspicious Actors One. Also we request information about Suspicious Actors Two that
 includes new identified material witnesses along with some actual perpetrators and
 individuals that we now identified from Suspicious Actors One that we were able to
 identify from public sources with almost no government help that has not been provided
 in discovery as far as we know.

         While I appreciate yesterday’s promise of Suspicious Actors One discovery files,
 I now see the predicament we are all in with a discovery clearing house where assigned
 DOJ prosecutors have all the risk and the clearing house does all the slow rolling. This
 crucial evidence comes too late to make use of it at trial and its prejudicing not only trial
 preparation, but also motion practice.

         This renewed request includes my requests for assistance in identifying the
 individuals listed through geo-fencing, facial recognition or through the extensive
 knowledge held by your assigned investigative agents. It includes all investigative files,
 whether they are unidentified or identified symbolled assets, confidential informants or
 sources, registered sources or informants, paid or unpaid or just providers of voluntary
 information. We need full pre-trial services and probation background investigations and
 raw files on charged defendants and all investigative files on Suspicious Actors 1 and 2.

        The Government complying with its discovery obligations may lead to new
 claims regarding selective prosecution, the public authority defense and even entrapment.
 Most importantly, my client is charged with crimes, none of which he committed, but
 here now, only through extensive investigative work since the last status hearing, often
 being requiring us to rely on public information triggered by the filing of Jan 6 cases, we
 can see other subjects committing the crimes on video that is kept away from public
 review through protective orders. Statements around some of the most culpable
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 Suspicious Actors openly and embarrassingly brag about being “cleared” by the FBI.

         The Capitol Siege Cases, Global Discovery Production Unit may have fallen
 behind in production of Brady disclosures. It’s possible there is a disconnect between
 what the Capitol Siege Unit has in its files and what it releases to trial staffs to comply
 with trial staffs’ obligations under Brady. This is in addition to problems associated with
 discovery on Confidential Human Sources (CHS) not making its way over to the Capitol
 Siege Unit.


         Just one anecdote among many: in advance of a defense counsel meeting in
 Dallas, the Government helpfully provided a proposed stipulation based on dramatically
 misdescribed conditions of the Capitol at the time the Oath Keepers entered the Capitol
 complex. The stipulation describes physical conditions before trained provocateurs—
 “Suspicious Actors”—removed them, often taking great pains to conceal the removed
 fencing and barriers. The proposed stipulation prompted me to search for video in the
 discovery that made this point to demonstrate the issue for the Government. How can
 this be? Then I saw a tweet from Pam Hemphill. Hemphill captured the condition of
 Capitol grounds in the morning—before Suspicious Actors appeared and dramatically
 changed conditions. I did a search in the Relativity database and there are documents that
 suggest her phone was seized, but there is no information that I can find based on a
 search for “Hemphill.” It then occurred to me: line prosecutors and assigned agents don’t
 have access to this information that is derivatively being denied to the defense. But Brady
 obligations are based on constructive knowledge. If line staffs have agents at any level
 that have knowledge of exculpatory information in a discovery clearance house or has
 knowledge of CHS, this knowledge is imputed to line staffs. We are 18 months post
 arrest--seven superseding indictments in--and we are still missing core Brady evidence.

         The Government has provided us a cursory and insufficient response to our
 concerns regarding the opening of the Columbus Doors on June 22, 2022 when it
 summarized prior statements from the Capitol Police but did not actually give us those
 reports saying that they are not normally released to the public. It provided one FBI 302
 which suggests that the doors were pushed open shortly after 2:05 pm yet the claim is that
 our clients in the indictment forcibly entered later showing a significant time gap leaving
 out crucial context and evidence. See email correspondence of June 22, 2022, Captioned
 Discovery Re: Columbus Doors.

        The Government has provided us Confidential Human Source (CHS) productions
 regarding only one (1) subject. I can’t find a single defense counsel who believes there
 was only one (1) Oath Keeper-related CHS. Particularly since we now see a reference to
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          a FISA application in January 2021, we see documented approaches being made on Oath
          Keeper Jeremy Brown to make him a paid informant in November and December 2020, it
          is insulting to our investigative agencies to think that they would only have been able to
          procure one Oath Keeper-CHS. As I have mentioned multiple times, many defense
          counsels with whom I have spoken are concerned that CHS information is not making its
          way to DOJ trial staffs. The only antidote is more time because with proper time, these
          disclosures will make their way to the Government. We all know that once DOJ trial
          staffs receive the information, we will receive the information ex post haste.

                  If I recall, in an April status hearing we were to receive all investigative files (of
          defendants, subjects etc.) on a rolling basis towards the end of May. If I recall it was 600
          or 800 investigation files that were promised for production on a rolling basis beginning
          in May for a July trial. Because even that lapsed production timetable would have not
          been in time for a July trial date, I tried with Suspicious Actors One to help frame the
          government around the evidence the defense was in search of showing other people
          committed the crimes the Oath Keepers are accused of having committed with possible
          support by proxies of government agencies domestic or foreign or even independent
          organizations. We filed ECF 127-2 that showed actual provocateurs engaged in the plan
          to attack the Capitol and influence and control rally attendees.

                   As far as I know, despite my vouching for the Government in the last hearing in
          terms of the Government’s willingness to assist us with this information, nothing has
          happened to materially change the situation except the situation has actually deteriorated
          as it seems that multiple government agencies are withholding discovery. We have also
          had discussions with the government in a good faith effort to confer to acquire geo
          fencing and facial recognition used to help identify Suspicious Actors and material
          witnesses that are specific to our clients that remain outstanding. Further we have not
          been given warrants that may include FISA applications 1 or out of district search warrant
          applications that under some circumstances may be problematic and provide a basis for
          suppression.

                  On July 7, 2022 the Government produced roughly 100 scoped evidence sets
          reproduced on a hard drive. I don’t think I received this drive. I have reports from co-
          counsel that they are having consistent trouble downloading this information. Search
          warrants only have an FBI number or an IBID Number and it's not clear whether we have
          search warrant affidavits and supporting information in the submissions. We only have
          these scoped returns on the defendants so we have no idea what material witnesses have


1
    There are references in discovery to FISA.
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       been searched, which of our listed material witnesses and actual suspects in Suspicious
       Actors 1 and 2 have been searched, identified or charged or actively ignored through
       official policy; or anyone else that may be relevant to our defense.

               On July 13, 2022, the government initially responded to my earlier requests for
       Capitol Police social media and text messages which document a number of officers
       posing with protestors or appearing to be sympathetic to protestors. But the government
       disagreed that defendants have a right to review any and all texts from January 2021 that
       are discoverable under the basis that the discovery requirement is too broad. However,
       you recognized that the USCP seemed to get along well with protestors, with normal
       interactions among people who "support the blue" as they shook hands, took photos, or
       just acted in an ambivalent way toward protestors which in turn caused confusion on the
       issue of whether individuals were invitees or given license to be where they were located.
       Clearly, the texts you have disclosed are exculpatory evidence but as they have only been
       reviewed by the government and defendants and remain hidden from the public, we do
       not know what else is out there.

               We also don’t have texts from the officers who acted in anger and with force
       outside training and policy protocols. 2 Have you provided the USCP use of force policy
       and rules of engagement for the use of force? We know from video that officers shot
       rubber bullets, pepper rounds, CS canisters, and concussion grenades or flash bangs, but
       these munitions were sent deep into a peaceful crowd from an elevated angle and were
       not used as dispersal measures. Radio transmissions we have on these points don’t have
       the use of force references we would expect to find. We also have video of other officers
       using their batons repeatedly to beat people but we have no readily findable discovery on
       the instances shown in many videos and reported by peaceful protestors. We also have
       no discovery on USCP, MPD, and VSP training for crowd management, crowd control
       responses and measures, and the chain of command authorities for use of force against a
       crowd that is not even in contact with police. We lack a complete record of reporting and
       orders within the authority chain from ground police squads up to supervisors and the
       USCP command center. It is logical that a ground LE officer who requested assistance
       from some Oathkeepers would have reported that - and the record communications
       transcript is exculpatory.




2
 This is the latest “take” on January 6 as more of this protected video gets disclosed:
https://www.theepochtimes.com/the-real-story-of-jan-6-documentary_4596670.html
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 Were the Oath Keepers Invitees or did they have justifiable reasons to enter
 restricted space or enter the Capitol?

        The evidence shows that the Columbus inner door is an electronic, magnetically
 locked door that was not opened by force. It appears that this door the capability to be
 unlocked remotely and it should be electronically monitored. Video reviews strongly
 suggest a third party released the magnetic locks.

         In reviewing correspondence, I am seeking to obtain crucial Brady evidence for
 our defense which directly impacts due process rights. The Capitol/ Congress is one of
 the alleged victims in this case, and was the site of the alleged incident, and as such, may
 have the custody and control of the information sought. I submit that this information,
 under Brady, if not disclosed, compels dismissal.




   Above: as #SmokyInsider looks on, (who, we now know from multiple, previously
   suppressed video angles, coordinated and worked together with Suspicious Actors
   from multiple locations, broke one of the inner Columbus Door windows, entered
  the Capitol and body slammed a police officer). Our best information is he is still at
  large. We see that to open the door the sign requires the release bar to be depressed
    for three seconds, at which time a buzzer sounds, and, 15 seconds later, the door
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                                         releases.




   The windows on the inner Columbus Doors remained intact with only the exterior
  layers broken by #smokyinsider, #pencilbeardinsider with assistance from SA’s and
    crisis actors we have identified and that sourced and provided the crowbar and
     other tools. The sealed French video shows the Suspicious Actors crisis actors
    procuring and handing a crowbar—held aloft so it can be captured by unknown
                        photographers--forward for the camera.

          Our best photographic evidence suggests the press bar is electronic. There is a
 keypad to its right. It is likely that the physical key is chipped and that all this
 information is collected somewhere. It is hard to imagine how a door with this
 sophisticated engineering, with indicia strongly suggesting electronic operation, would
 not have remote monitoring and access capability. It is res ipsa loquitor, the thing speaks
 for itself, where someone inside the Capitol released the door…twice. Radio
 transmissions we have been able to review also seem to confirm there was a remote
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       unlocking system. We have been provided no discovery as to control and security of
       keys, how and when the keys can be copied, and what digital information regarding the
       keys exists on-line subject to copying. Ops audio shows nobody knew who had the keys
       over the course of January 6, 2021. Calls went out asking those with keys to lock doors
       when protestors entered the grounds. There is no confirmation that doors that must be
       opened from the inside were locked. Therefore knowledge of who had keys will allow for
       witness examination of what doors were confirmed locked and how and when they may
       have been subsequently unlocked - with what and from where.




 Workers replacing glass in inner Columbus Doors after January 6. There is a rectangular
   unit of some kind above the door in the foreground. This magnetic locking system must
   also have carried electronics signals. To have a door of this engineering complexity and
 design and not to include a remote access system that releases the door, is hard to imagine.
 That a door of with this engineering could operate without sending information to another
location to be monitored and stored is hard to imagine. We need all engineering and signals
 information about this door. Reportedly this far, emergency opening of a door sounds the
    alarm. The questions of where are the alarms monitored and who from what location
             controls the ability to turn off alarms are not answered in discovery.
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                                                                              3


         Here again we see that the right door handle does seem to have been pried off by
      Suspicious Actors, some of whom we have featured and in the last few weeks based on
    government filings made public, we can now see exactly what happened. The door frame
       remains intact. Notice there is no locking mechanism visible on the edge of the door
              confirming this is an electronic, magnetic locking and closure system.



3
 https://twitter.com/ArianaFreeman12/status/1351902443035107332?s=20&t=eFCn87-
N1XHxsYHqGzJTew
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                We have no discovery regarding the engineering of the Columbus inner door or
        its security features, or any information about the ability to disarm the magnetic locks
        remotely. Nothing in the video evidence suggests that the activity on either side of the
        Columbus Doors could have or did in fact cause the doors to open. In fact, one can view
        the videos as consistent with a view that Suspicious Actors (SA’s), some of whom appear
        to be acting under color of law that we have now been able to identify from public
        information with less than exemplary assistance by the Government, were on both sides
        of the door engaged in futile behavior that could not have opened the door, or even more
        nefariously, were engaged in activities designed to create the appearance of a fraudulent
        cause and effect relationship to the door’s opening.

                As you will see Suspicious Actors Two, that came almost exclusively from the
        public record and not from Government discovery unless it was public derivative from
        another case, we now have established common interest between George Amos Tenney
        III, who opened the door with other Suspicious Actors in Columbus Door Opening One,
        and Bill Dunfee (formerly “14-#PasterBill” in the first Suspicious Actors filing), that we
        were able to identify in the last few weeks without any material assistance from the
        government.

                Representative Kinzinger’s tweet below suggests that a Congressional
        subcommittee has heard witness testimony about the circumstances of the inner
        Columbus door opening. The Congressional subcommittee has access to door operations
        information and security intelligence that Jan 6 defendants do not. It is a matter of public
        record that the Committee has reports documenting 1,000 interviews. It also has access
        to witnesses and evidence that we do not. 4 Representative Kinzinger also seems to have
        information regarding the identity of Suspicious Actors who entered the Capitol and who
        were around the second floor balcony area, who may have walked in through open doors.
        In any event, regardless of what Tenney was told by Suspicious Actors or Congressional
        personnel, no manual force that he applied to the inner Columbus Door could have
        resulted in the door opening on its own.




4
 Capitol tours while helpful were strictly chaperoned and prevented any meaningful inspection of the door, the
door area, the area outside the door, the East stairs, the security control rooms and the rea in the balcony above
the Annex area. All photography was prohibited in these areas. This is unacceptable.
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                Not only have we developed significant information around Tenney, it
        appears that Bill Dunfee had a group of now identified provocateurs who pushed
        through the barriers in the East in coordination with a group we have identified
        that came through from the West (Senate side) barriers. They may have
        approached Ethan Nordean in the morning to join their attack as we see on video.
        In stark contrast to defendant herein - Sgt. Kenneth Harrelson, retired, who had no
        plan to attack the Capitol - we have now documented what can only be
        characterized as an extensive plan carried out by Suspicious Actors, some
        identified, who seem to have participated within a comprehensive plan developed
        before January 6 to create chaos and force entry into the Capitol. Part of the plan,
        as seen in the East, appears to include provocateurs who lured innocent rally
        attendees caught up in the moment to funnel into areas where suspicious actors
        agitated confusion and violence, while the overwhelming majority of protestors
        had no illegal intent and were enticed into a false sense or impression of legality.
        Part of the plan in the West more than seems to have been designed to antagonize
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        the crowd, and to provoke fight or flight responses, and then responses to calls for
        help, among the protestors.

               Only now after spending months digging into the bowels of the internet
        only made necessary because of gross discovery failures, we can now see
        evidence of coordination between Suspicious Actors in the East and West, and
        possibly complicity by USCP and/or MPD, that we are only now developing the
        capability to discern and document.

                In the East, but for the concerted actions of these Suspicious Actors, there
        would have been no entry onto restricted ground. The circumstances of this
        concerted and sophisticated effort to overwhelm USCP, forced the Oath Keepers
        into an impossible position since for more than ten years they provided security
        details and responded to conflict areas where there was acrimony between
        protestors and residents or police. On January 6, Oath Keepers responded to assist
        police (MPD and USCP) and responded to injured citizens many times.
        Unfortunately, because of blanket, rubber stamped protective orders most of this
        extensive evidence has been suppressed from District of Columbia residents who
        will form the jury pool, and from the American people.

                 The planning executed in the East and the West seems to have included
        coordination for synchronized actions of individual or small group actions. We
        now see extensive evidence of coordination and timing. That these individuals are
        more likely to remain unidentified, are more likely to have their activities
        documented on video under protective order, are less likely to be charged if they
        are identified, and, if charged, the charges often involve long delays with
        undercharging compared to others, are more than indicative of affiliation with
        some federal agency. Further indications include their inexplicable released pre-
        trial (sometimes on their own recognizance) when others similarly situated or
        with no violent acts are jailed after strong unexplainable Government opposition
        to pretrial release. These activities are a source of well-founded and reasonable
        suspicion that over time will cause reasonable Americans, future reviewing
        courts and reviewing officials, grave concern about the integrity of the DOJ
        and justice system. A glaring pattern already emerged for public scrutiny with
        distrust of the justice system —seemingly untethered from DOJ policy established
        over decades-- that here includes grossly disparate charging, coercive
        overcharging, and questionable application of sentencing guidelines
        enhancements. Growing numbers of Americans are finding it hard to ignore - and
        would find it impossible to ignore if they knew - that the Government is labelling
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        those charged as “domestic terrorists” and has used "domestic terrorism
        investigation" to ignore the Fourth Amendment search requirements of the U.S.
        Constitution. The issue of the Suspicious Actors, whether they were acting under
        government agency or as material witnesses, are being ignored with an
        increasingly demonstrable record of discovery hidden or presented as being next
        to impossible to find if it exists at all, and this only exacerbates what will come
        out as truth in the end.

                What information does the Government have on these “provocateurs” or
        Suspicious Actors that we witness on video doing all the things the Oath Keepers
        are falsely accused of doing in regard to the Capitol attack: planning, coalescing,
        dividing labor, and pursuing a timed goal? Further, what information do you have
        on how Megan Paradise, Ronald Loehrke, Ricky Christopher Willden, Bill
        Dunphee, Jeff Cline, and James Haffner (and others I referenced in Suspicious
        Actors 1 and 2) who all seem to work and coordinate together? Does the
        Government have information regarding public reports that Paradise’s Aunt told a
        podcast audience that her niece had been cleared and that she had turned over her
        phone to the FBI? Where is the crucial discovery from her phone? Who paid for
        Epps, Paradise’s and Eric Christie’s (#fagsfortrump) travel? With whom were
        they communicating? What is Paradise’s status and has she been arrested? Where
        are the investigative files on Paradise, Christie, Haffner, and Loerhke and all the
        other SA’s we have identified? What information is there regarding Loerhke’s
        and Haffner’s eyebrow raising pre-trial release, when they functioned in a
        coordinated manner beginning with the initial Ray Epps breach and then, at each
        juncture, led the push at each successive barrier - including the inner Columbus
        Doors opening where Haffner, Willden and 4-6 others can be seen clearly
        attacking police with chemical spray? The Oath Keepers are nowhere nearby but
        are alleged to have “forcibly entered.” What evidence is there regarding
        Willden’s actions? He appears to have been released at some point pre-trial,
        despite what the sealed video shows. How was Willden not charged with 18 USC
        Section 1512, and how did he get pretrial release with seven balks at urine tests?
        We have evidence of Willden and Haffner both spraying down police with
        chemical irritants (where use by others is labelled use of a deadly or dangerous
        weapon). There exists video with 4-6 other Suspicious Actors spraying mace at
        police in a concerted attack timed to the National Anthem with other Suspicious
        Actors physically assaulting police or aiding in assault where none have been
        charged or detained. There exists video of #JamesDeanWannabe with full facial
        images and seen using a cellphone but he, unlike Haffner, Willden and so many
        others we have laid out, is not detained let alone even identified?
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                Further questions include: How did this multitude of individuals function
        as two coordinated groups that broke through two breach points simultaneously
        (in front of the Senate bike racks and in front of the East steps) to then march to
        the East Steps while barricades were removed or toppled in 40 seconds? Why did
        they mix and mingle with people that they should not have known based on where
        they lived and worked to then launch a coordinated push through on the East steps
        on January 6? What discovery do you have on the timing of their actions, since it
        appears that both breaches occurred just as Vice President Pence’s motorcade
        pulled out and vehicles were repositioned in front of the East Steps? Review of
        surveillance video reveals that USCP personnel exited all vehicles except one: the
        armored assault vehicle. What discovery do we have showing why any personnel
        remained inside this parked vehicle and specifically, what were their
        assignments? What surveillance equipment was mounted inside the vehicle and
        used; and where is all this discovery? Did those inside the vehicle communicate,
        monitor, film, or collect? Where are their reports?

                We have no discovery referencing USCP or any other personnel in this
        armored vehicle. The vehicle antennas as well as standard gear carried by LEOs
        on January 6 more than indicate the occupants had communications and other
        equipment. It is only logical that this information, with their radio or cell traffic,
        would show a better picture related to signals information about alarms and door
        status, and possibly about mass surveillance collections. Those in the vehicle
        should have been linked, as would be video and other electronics about the door
        and alarms to monitoring and control by the USCP command and control center.
        The USCP control center is likely to the same center that Steven A. Sund, Former
        Chief of Police, occupied for much of the day monitoring video.

                Even though actions, orders, and decisions directed from the top level and
        then the ground tactical operations centers referenced in Ops 1 and Ops 2 audio
        are crucial to our defense, after 15 months and requests, we still do not have this
        information.

               Who was in the central command center and control room(s), and how
        many control rooms were there? What could be monitored from these rooms?
        What lines of communications, imagery, and SIGINT came into these rooms?
        Who was in these one or more rooms throughout the day? Are the control rooms
        themselves monitored? Where are the record logs that will include call logs,
        communications logs, attendance logs, recordings of events etc.? None have been
        provided. Where are records of visitors?
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                          Further, as previously mentioned not only is the January 6 Committee
                   suppressing 1,000 interviews that are being withheld from USDOJ and our
                   defense, it's been reported that they intend to have more hearings in September.
                   What made for TV fiction will they presenting in September as "evidence" to
                   damn all January 6 defendants?

                           Is it the Sund command or control room where Ops 1 and Ops 2 channels
                   were routed? Why did MPD’s Robert Glover get situational control of Capitol
                   Grounds and how was this decision and the decision made and communicated?
                   His response seems to have had the effect of drawing resources to the scaffolding
                   while it starved USCP to a skeleton force in the East? Is this where the landlines
                   were located that are referred to on Ops 1 and Ops 2 or did they go to wherever
                   Robert Glover was stationed? Why did leadership direct certain USCP to refrain
                   from discussion on radio and to call on a landlines, presumably through the use of
                   personal cell phones? Police are captured on video making prodigious use of
                   cellphones. Where are these communications in the discovery? Where are the
                   logs and any records from their phones and the command-and-control center? We
                   have none of the communications with Senate security that Commander Sund
                   referenced, nor any of communications with USCP chains including Speaker
                   Pelosi, Majority Leader McConnel, and the Sergeants at Arms in the House and
                   Senate. Where are even the reports to USCP directors that evidence the time
                   required and involved with delays in clearing and restarting. What caused any
                   delay between six and eight p.m. when all protestors were out of the building and
                   pushed forcibly well away from the building? Audio indicates USCP was trying
                   to determine who would work where and when, and how the police would get
                   water and food rather than overcoming something that prevented the sessions
                   from reconvening. Were the Senators and House representatives told to go eat
                   dinner and return by a certain time despite the building being "clear" by 6 p.m.?
                   Where is this information since very complaint and indictment may falsely be
                   representing the cause of the time delay? More importantly, how much of any
                   time delay was due to USCP senior leadership maintaining next to zero command
                   and control over ground units, with no net report the entire day for units to report
                   locations, where evidence available indicates the USCP leadership was
                   responsible for hours of delay and overall failed to use available resources?

                          We further, obviously, do not have any of the Secret Service texts, which
                   upon information and belief, seem to have been completely erased. 5 Further

5
    https://nypost.com/2022/07/21/dhs-launches-criminal-probe-into-deleted-jan-6-secret-service-texts-report/
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        relevant to the events as they played out is the investigation or lack thereof
        regarding the recovered bombs at the Republican and Democrat clubs? We have
        almost nothing about the bombs or investigation of the bombs. Has the
        government run geo-fencing on the bomber’s time and location that can be seen
        on surveillance video. If not, why not?

                We also need discovery regarding the “explosives” you are proposing to
        introduce in a 404B motion from an RV in MD that never entered the District,
        including any police reports documenting any weapons on the day of the subject
        incident. We need the search warrants with affidavits, including the dates of
        investigation, of Jeremy Brown’s residence, RV and trailer, and most critically the
        TEDAC or any other forensic report with all findings, including whether there
        were fingerprints, hairs, fibers, DNA on any grenade or the tape. We need all
        reports of the results, and whether any of the hair, fibers, fingerprints, or DNA on
        the inside of the tape wrapping the grenade to determine whether it matched
        Jeremy Brown or the carpet fiber or dog hair collected on a second invasive
        search where the agents cut out carpet in the middle of multiple rooms.
        Additionally, we need the TEDAC or any forensic reports of the inside of the tape
        wrapped around the short-barreled firearm(s) and whether the fingerprints, hairs,
        fibers, DNA extracted from the tape matched Brown. We request all forensic
        reports including the technique used (such as mass spectrometry) and we will
        eventually require all written reports and reference materials that the Government
        expert will use or rely upon. Also please provide the most recent inspections and
        compliance reports for the labs involved. Please provide any discovery relevant to
        Jerry Brown’s whereabouts on January 6th and whether he is alleged to have had
        any weapons in Washington DC. If a witness alleged that they saw any weapons
        and explosives, there is no report in discovery, either here or in Tampa, that states
        anyone ever saw any explosives or weapons in the R.V. either en route to or in
        Maryland. There is not a single detail or anything of particularity to indicate that
        the explosives' claim was not fabricated by a person arrested for their January 6th
        actions, and who was then promised a better plea deal and leniency if they said
        something against Jeremy Brown. Indicators more than portend that the allegation
        came from an FBI informant placed in the Oathkeepers for the very purpose of
        informing and who was possibly paid. Where are all the FBI 302's similar to those
        for John Knowles? We need you to identify any January 6th defendant who is a
        witness and originated the search predicate, and who will testify to: seeing
        explosives, when he saw them, and exactly what type and where he saw them
        since the FBI search warrant affidavit never provided a single credible detail of a
        type explosive or its presence outside of Florida ever, even assuming such
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                  explosive was not planted prior to the search.

                          We have no information or discovery about the multitude of federal agents
                  from many agencies who were embedded in the crowd which has been reported. 6
                  Follow up questions include why were agents reportedly embedded with “shoot to
                  kill authority” and why do we have no discovery about this?

                           Among a range of challenges this lack of disclosure poses to the defense is
                  that it makes it impossible to deconflict actual federal agents from our growing
                  list of Suspicious Actors as contained in a motion that the Court withdrew with an
                  understanding that I professed that the government would assist us in identifying
                  them and agreed to provide all required discovery. Further, it may lead to a
                  public authority defense since according to page 23 of the Ops 1 transcript, it
                  seems as if unlimited force was being authorized just as or just prior to the Oath
                  Keepers being ushered in front of the Columbus door. This is crucial defense
                  information because as you know, my client and other Oath Keepers, later came
                  to the defense of Harry Dunn who was alarmed, agitated, and had a loaded M-4 at
                  the “low ready” and was issuing extreme threats to the crowd. Was it leadership
                  and lack of training failures that caused Officer Dunn to threaten protestors by
                  saying “I’ll take as many of you guys out as I can before you get to me.”? Or had
                  he heard the authorization to use any force necessary to keep people out of the
                  building? Who issued that order? This is the point when the Oath Keepers
                  inserted themselves between Dunn and the crowd clearly putting their backs to
                  Dunn and opposing the crowd.

                          Further, we need all discovery on the actions of the Oath Keeper Jeremy
                  Brown who saved a woman from being beaten by police and after being forced to
                  the ground, from being trampled as police were acting to stampede people who
                  would run over her. Other Oath Keepers escorted Police inside and outside of the
                  Capitol. Oath Keeper Meggs directed foot traffic as he chatted with police. Oath
                  Keeper Crowell escorted a woman to police and then to a medical station at the
                  ellipse. After Oath Keepers exited the Capitol they mulled with police and were
                  asked to guard the broken window. Further, we need discovery on training
                  regarding crowd control and crowd management including de-escalation
                  techniques in managing crowds that MPD and Capitol Police received at any time
                  prior to January 6th, 2021. We need the training records for use of gas masks since
                  many did not know how to properly seal their masks and after police use gas,
                  these officers succumbed to "friendly fire" and had to be decontaminated. Many

6
    https://www.newsweek.com/exclusive-secret-commandos-shoot-kill-authority-were-capitol-1661330
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                  officers can be seen on video being instructed and assisted with donning masks
                  because they did not know how. Others can be seen being haphazardly handed
                  OC gas cannisters and then having to instruct right then and there of how to
                  activate the cannister because the officer had never used or been instructed on this
                  previously. Of particular need is the documented instruction and the use orders on
                  January 6, 2021 given to every LEO who was issued and employed concussion
                  grenades, rubber bullets, batons and chemical gel or gas.

                  Where, when and what DoD resources from any agency as well as from the CIA
                  or NSA, were employed before or on January 6? When did the FBI and DOJ
                  declare any January 6 defendant a domestic terrorist? Was it within days of
                  January 6 when Director Wray declared this/ Or had any Oathkeeper or
                  Proudboy been declared a terrorist prior to January 6 and placed under
                  "domestic terrorism investigation?" Were FISA warrants issued prior to or by
                  mid-January 2021 for January 6 defendants?

                  The presence of these extraordinary forces under the control of the Attorney
                  General—and mostly operating under contingency plans that Congress and the
                  U.S. Capitol Police were not privy to—added an additional layer of highly armed
                  responders. The role that the military played in this highly classified operation is
                  still unknown, though FBI sources tell Newsweek that military operators
                  seconded to the FBI, and those on alert as part of the National Mission Force,
                  were present in the metropolitan area. The lingering question is: What was it that
                  the Justice Department saw that provoked it to see January 6 as an extraordinary
                  event, something that the other agencies evidently missed. 7

                          Confusion and chaos reigned throughout the day with broad swings by
                  police of overreaction and underreaction. Once we have discovery to which we
                  are entitled to, it's possible a use of force expert will testify about what caused this
                  confusion and will help provide accurate context. Further, in addition to any
                  public authority defense, we need to know about the presence of any plain clothes
                  officers, some presumably dressed as provocateurs to blend in, some dressed as
                  protestors, and some dressed as members of the media, and what affect did this
                  have on how the day transpired. Specifically, how many federal agents or persons
                  under their agency were present at the US Capitol on January 6 under the cover of
                  "press?" Who were they? Did any tell people to go across a police line or to enter
                  the building?


7
    Id.
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                       While the media has reported about such persons, we have no such
                information in discovery. It appears from Chief Sund’s letter that he had no
                knowledge about these units or the underlying intelligence reports that caused
                Acting Attorney General Jeffrey Rosen to take what may be an unprecedented
                step. Was this transmitted to USCP and how did this impact its response?

                        Also since the last status hearing, we have seen public reporting of a secret
                surveillance unit deployed by Metro Police Department, but we have no such
                discovery. We have long wondered what caused so many members of media in
                great numbers to skip the ellipse and report in the morning of January 6 directly to
                the Capitol, but now this raises the possibility that much of what we are seeing are
                MPD officers posing as tactical camera crews. 8 We have some interviews of
                Capitol Police, we have some interviews of MPD, but that’s about all we have.
                This is missing evidence that is crucial for our defense. These people must be
                identified and interviewed. Also, where is the photography and video that was
                generated by these police? What is it these police photographers were told they
                were going to film and photograph?




                Columbus Door and Door Operations around the Campus

                In the face of overwhelming video evidence that Door Openings One and Two
                occurred with third party assistance, we need more information.

                To know for sure, we need the engineering specs on this door and the relevant
                acquisition specs and requests for proposals. The relevant NAICS codes should
                be 332510, 332321, 334290, 335999, 423390, 423440, 423710, 444190, 541310,
                541410, 561621, 561622.

                Please provide the electronics schematics to this door.

                We would like the government to identify the contract officer as a potential
                witness.

                We would also request the right to inspect, photograph and test the operation of

8
 https://www.theepochtimes.com/mkt_app/jan-6-electronic-surveillance-unit-was-illegal-says-rep-gohmert-
attorney-suggests-entrapment_4544981.html
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        the door under USCP supervision.

        Control Rooms

                There has to be a control room that monitored ingress and egress into and
        out of the Capitol on that day. We would like the names of the officers who
        manned the control room(s) on that day and what unit of Capitol Security
        manages this office. Is this control room monitored? Are operations monitored
        and recorded? If so we would like this information.

                Is this the same office that MPD’s Robert Glover occupied? Other agency
        control rooms?

                 We need officers referenced on Ops 1 and Ops 2 fully identified. We need
        all communications from management chains including MPD’s Robert Glover
        (Cruiser 50). A use force expert is evaluating information contained in Ops 1 and
        Ops 2 and Cruiser 50 seems to make numerous exaggerated and panicked reports.
        It seems that munitions are being used prior to authority being requested. How
        was MPD permitted to seemingly run the response and where is this in our
        discovery? Page 261 MPD transcript reports a segment of the West crowd broke
        North (to coordinate the East breakthrough), but we need meta data and time
        stamps to sync this up with our surveillance video study. A force of use expert
        may testify that drawing all resources to the scaffolding drew away resources and
        put USCP officers in danger. Video review now to shows use of non-lethal
        weapons being used before authority was requested or authorized on Ops 1 or Ops
        2. We have video showing police launching cs gas, rubber and pepper rounds,
        from elevated positions deep into the crowd where it may have been operationally
        counterproductive and unjustified. Almost unbelievably, Cruiser 50 at one point
        states: “break this up from the air,” seemingly calling in an air strike while he
        systematically draws resources away from USCP personnel in the East.



                In addition to inspection of the door, perhaps with a presentation on its
        operation, we need to visibly inspect the upper balcony, the annex area, the area
        in front of the Columbus door (exterior), the window that Hunter Ehmke broke
        out and the area in front of the East Steps.



               If there are control rooms like the one referenced by Mr. Sund, this cannot
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        be kept a mystery. It would be good to know what the rooms are called, where
        they are located, what they track and what information is stored. Again, it is
        unreasonable to think there would surveillance cameras everywhere except in
        front of the main entrance to the Capitol on the entire exterior Columbus Door
        level and where the Harry Dunn exchange occurred. We would like to inspect
        and photograph these areas and may seek to use any equipment that our experts
        deem necessary to determine if cameras were ever housed there.

        Police and Interagency Communications and Presence

                In a mass spectacle event like this one, that involved the interaction of tens
        thousands of protestors and hundreds of law enforcement personnel, and when the
        government has issued thousands of discovery requests and search warrants for
        text information and social media accounts, it would seem that a narrow discovery
        request for one month of texts and social media posting for all USCP personnel is
        reasonable and constitutes core defense information that almost certainly will
        yield Brady information.

        The Government stated that:

        That said, we have made disclosures and will continue to do so where law
        enforcement actors’ conduct on January 6 might be material to a defense of
        encouragement or permission by law enforcement (see, e.g., 8/5/2021 discovery
        regarding the MAGA hat wearing officer), and where those investigations have
        uncovered relevant social media information we have also provided that in
        discovery. More specifically, in global discovery, we have disclosed social media
        information that the United States Capitol Police gathered in the course of
        investigations conducted by the USCP’s Office of Professional Responsibility into
        officer conduct on January 6, 2021.

                This is a narrow interpretation of the government’s obligations. Yes, we
        are most certainly interested in texts and social media posting for the above
        reasons you state, but there are other reasons as well. For instance: we need to
        understand the extent of police collaboration with inauthentic provocateurs,
        suspicious actors if you will, that has now been documented on video and that we
        will supplement in the coming weeks. Now that we can see coordination between
        the East and West and finally begin to understand how the space fit together, it
        makes the communications between and among law enforcement crucial for a
        defense. We must get all discovery in this area.

               Inter-agency communications between agencies and intra-agency
        communications within agencies help establish the accurate context of what
        occurred. This gets distorted when only the most prejudicial video information
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        gets released to the public and the officers who were in the West, like Officer
        Dunn and other's, become media stars based on exaggerations, outright falsehoods
        and an impartial record based on the most damning video, most of it from the
        West, and almost none of it involving the charged Defendants.

                USCP inexplicably did not wear body video streaming or recorders. In the
        West, cams on MPD officers served as a limitation on government embellishment
        and inaccurate recollections that have evolved over time and been allowed to
        persist because of protective orders.

               With rare exceptions, in the East, we do not have information on how
        USCP interacted with each other and with protestors. USCP Communications
        around and after January 6th may be just as important for us in disproving the
        government's case as the hundreds of Jan 6 search warrants capturing
        contemporaneous conversations of everyone except USCP. This absence of
        relevant information has systemically distorted the process.

               This official USCP decision to not use recorders puts anyone entering
        through the East at a profound disadvantage in putting on a defense.

               Worse, the USCP has claimed there is no video surveillance outside the
        Columbus Doors. This already looks suspect—since this is essentially the front
        door to the Capitol, but there is also crucial surveillance footage of the Harry
        Dunn incident that was not covered by surveillance cameras. Among the hundreds
        of cameras, the USCP apparently didn’t have cameras where you would most
        expect to find them that also just happen to be crucial to our defense.

                 From Coms 1 and Coms 2, we can see clearly that important conversations
        at critical times are being held off-line through the use of landlines. By definition
        and this shows USCP requiring its officers to have off-line communications with
        government phone lines using personal cellphones. This is documented on video.
        The radio logs seem to show that landlines are being used to place and receive
        calls to and from cellphones. Officers can be seen using what look like personal
        cellphones.

              We have a right to this information. As such, I would request the
        government answer the questions above and provide the following discovery:

  Did USCP have body video cam equipment on hand on that day?

  Were body cams worn by USCP in the past? If so, when?

        Was there an official policy on body cam use? Can we have any and all
  information about policies regarding body cam use and communications about body cam
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          use leading up to and including January 6?

                  Can we have a list of all USCP government issued cellphones and to whom they
          are assigned? Can we get telephone call logs and all texting information for these
          phones?

                  Does USCP prohibit the use of personal cellphones while on duty? Does USCP
          prohibit officers from carrying personal cellphones while on duty? Can we have any and
          all information regarding the use of cellphones including all policies regarding the
          possession and use of cellphones while on duty.
          Does the USCP have a policy that prevents USCP from calling or texting each other
          during or after shifts about official business?

                 Is there any USCP email production in relativity? Do USCP officers and
          supervisory chains have email accounts? I have never seen any production on this, but I
          suspect I am just missing this. I think we are entitled to these communications among line
          USCP officers in advance and after January 6 for some period of time. One month seems
          reasonable.

          Eyewitnesses and/or Suspicious Actors



                 Please supplement my earlier requests 9 to include all government files maintained
          by any of the eyewitnesses and/or Suspicious Actors we have identified or for whom we
          are seeking identifying information about. Please add to the overlapping list of Suspicous
          Actors and/or material witnesses in Suspicious Actors Two.

                  Please include all information including raw investigation files for symbolled
          assets, regardless of security classification, all confidential informants, all confidential
          sources whether registered or unregistered and regardless of whether they are paid.
          Also include all government files on all providers of information.

                 Please include all payments to these individuals or organizations for which they
          are members or regarding which they have ownership or management responsibility.
          This includes direct and indirect payments including grants to NGO’s, companies, or
          individuals. Please include all pre-trial services files and probation reports.




9
    ECF 127-2 and please see my email of May 27, 2022
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  Big Voice



         We need an inventory list of all Big Voice and voice amplification devices that
  were in use and available for use on January 6th. We need any and all communications
  about deployment or use of this equipment or, more importantly, decisions not to use this
  equipment.

  Mystifyingly, we find no evidence that a general cease and desist announcement was
  issued at the Capitol until 4:00 p.m. We see speakers and public address system
  equipment (some installed and some portable) from surveillance video, but we can’t find
  any law enforcement officials that issued warnings. Lack of a public address to rally
  attendees until 4:00 pm is very hard to understand.



  Stingray, Gboxes, Jamming Devices

           Rally attendees report an inability to get service, receive texts, upload or send
  emails or texts. Our inside experts see evidence of jamming, but they suggest that that
  this is also a possible result of use of stingray equipment and/or gboxes as signals are
  queued and diverted to government equipment or third party contractor equipment. We
  need to know if this equipment was being used on January 6.


         We need an inventory list of all data collections and jamming devices that were
  deployed around the Capitol grounds that may have impacted rally attendees. Oath
  Keepers (and many rally attendees) had significant communications disruptions and if
  this was at the hands of government we need to know.


          Part of the Government’s theory is that communications by cellphone, text and
  chat occurred, that never connected or was not received until much later. Rally attendees
  who earlier had agreed to meet up at the Capitol in many instances did not receive texts
  from associates or loved ones to meet somewhere else. This resulted in higher volumes,
  tighter crowds and communications failure. This caused additional confusion.

  Drones


         Page 275 of Ops 1 has Cruiser 50 saying that they need to “break this up from the
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       air.” Later, on page 328 a drone is reported to be on the SW corner of the Capitol.


              This is the first we are hearing about the possibility of drone footage or the
       capability to strike (militarily?) from the air.


             Along with video, were SIGINT or warrantless collections occurring here or
       elsewhere? Where was this video going?



FISA

       We have found evidence that a FISA was issued in the matter prior to March 2022. We
would like any and all information about use of FISA applications.

       We would like a list and underlying documents for every out of district physical location
search warrant that was issued in this matter against rally attendees, including Oath Keepers and
Proud Boys, prior to May, 2022.




         For all of the reasons above, the Government should consider joining me for a six month
continuance so that we can afford all institutions and agencies involved the benefit of time. It is
as much for them as it is for my client that I set forth these discovery failings because we all have
a common interest in protecting our Nation’s institutions and the Rule of Law system. With
time, and without an impossible trial date looming, we can work through these issues, everyone
can catch their breath and catch up with events. It is as much out of loyalty to my former
colleagues who have been assigned as trial staffs or assigned as trial agents as it is for my client
that I raise these issues. I earnestly hope you will take it in that spirit.
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                                     Very truly yours,

                                     FormerFedsGroup.Com LLC

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